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Elston L Stephenson (Plaintiff)
Case 3:19-cv-08268-DLR

P.O. Box 129

Grand Canyon, AZ 86023
September 28, 2020

U.S, District Court Clerk’s Office
Sandra Day O’Connor U.S. Courthouse, Suite 130
401 W. Washington Street, SPC 1 LER |
Phoenix, AZ 85003-2118 J DISTRI

Dear Court,

Please receive and consider this request for NOTICE TO THE COURT OBSTRUCTION OF JUSTICE,

TAMPERING WITH U.S. MAIL, AND RETALIAION in the case of STEPHENSON V DRAPEAUX.

Thank You

Sincerely,

Elston L Stephenson

NOTICE

Your Honor, on September 16, 2020 Plaintiff, in a meeting with GRCA Superintendent 3 was
handed an oversized tape-sealed envelope and was told that it contained U.S. Mail from the Court to
Plaintiff and that “someone” had opened it months earlier. When Plaintiff asked why someone would
open his mail, he was told that they wanted to see if it was official. Plaintiff has received none of the
Courts correspondences, decisions, etc. for several months. Plaintiff believes that DOI has opened,
destroyed, or returned Court correspondences—U.S. mail clearly addressed to Plaintiff, and clearly

addressed from the Court. These likely represent deliberate attempts to obstruct, and impede
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Plaintiff's exercise of his Constitutional right to participate and have vigorous representation before
this Court as well felonies under at least 18USC §§1505, 1509, 1513. And U.S. mail related federal

crimes under the 18USC 1700 series.

These efforts by DOI appear to have deliberately sabotaged and derailed Plaintiff's rights to

participate in these proceedings.
These are currently the subject of an Office of Special Counsel complaint and investigation.
Plaintiff has officially notified the Secretary of the Interior. (Exhibit X-10)

Also, You Honor, since participating in these proceedings and as a result of vigorous Pro se
representation, Plaintiff has been bombarded with pressures by the GRCA Superintendent 6 and GRCA
Deputy Superintendent 3 to be interrogated by the Office of the DOI Inspector General’s third-party
investigators. Their overtures have taken on an air of desperation as they have resorted to cons like
“\WWe promise You are not the subject of the investigation, we think you are a witness who has vital
information...” or “This is most likely a complaint raised by a Postal employee, and you are a witness

with valuable information.” or “I don’t see how this could have anything to do with your case.”

Your Honor, DO! is clearly working with DOJ in this case. As the matters before this Court are
wide ranging. U.S. Attorney forfeited/requested termination of the 16A process—likely not foreseeing
the contours and endurance of this case. Plaintiff regards these efforts as a ‘back door’ attempt at

Discovery that U.S. Attorney unwisely terminated.

Importantly, Your Honor, a purpose of IG interrogations is to develop incriminating information
on the interrogated—self-incrimination. As the Court well knows, Plaintiff has a Constitutional 5**

Amendment right against self-incrimination.
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DOI/NPS/GRCA’s desperation overtures are likely illegal. For the Superintendents would have
no basis and no access to legitimate IG investigations to make such assurances. And as Plaintiff is
representing Pro se and has never so much as mentioned the case—much less revealed details or
strategy of his case; these GRCA Superintendents have no way of knowing the contours of this case and

no basis to claim ‘no conflict’. These are tricks—likely illegal to con Plaintiff out of his rights.

Plaintiff has forwarded a request to the Secretary of the Interior to cease and desist. (Exhibit X-

11)

Your Honor, respectfully, this Notice is to inform the Court in a timely manner of these
developments. DOI’s actions are not just an attack on Plaintiff and the U.S. Mail; but an attack on the

judicial process and this Court as well.

Please allow Plaintiff to prepare and file a Motion to assess and address the harm and plea for

sanctions for DOI’s actions.

Thank You, Your Honor.

Respectfully Submitted,

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Elsto L Stephenson, OHST

Safety Health & Wellness Manager
Tort Claims Officer

Grand Canyon National Park
928-255-8727
